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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

 Plaintiff,

v.                                                  Criminal Action No. 21-22 (CKK)

CHRISTOPHER RAY GRIDER.

 Defendant.


     SUPPLEMENT TO DEFENDANT’S UNOPPOSED MOTION TO TRAVEL

TO THE HONORABLE COLLEEN KOLLAR-KOTELLY, UNITED STATES DIS-
TRICT COURT JUDGE FOR THE DISTRICT OF COLUMBIA:

        CHRISTOPHER RAY GRIDER, the Defendant in the above styled and num-

bered cause, by and through undersigned counsel, submits the following supplement

to his Unopposed Motion to Travel filed on March 30, 2022 (Doc. 87) setting out the

details of the volunteer event that he seeks to travel to.

1. The volunteer event that Mr. Grider seeks permission to travel to is “EDOH VXII:

     LaPlace, LA,” a volunteer rebuilding effort organized by Eight Days of Hope, a

     Christian, nonprofit organization. Information about the event is located at

     https://eightdaysofhope.com/event/edoh-xvii-laplace-la/. Over the course of the

     event, volunteers will be helping to rebuild homes that were damaged during Hur-

     ricane Ida in and around LaPlace, Louisiana.

2. As reflected in the Confidential Memorandum in Support of Pretrial Release sub-

     mitted as Exhibit B to his Motion for Leave to File Exhibits to his Memorandum



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   in Support of his Motion to Revoke Detention Order (Doc. 13 [sealed]), prior to the

   events of January 6, Mr. Grider was active in various volunteer efforts in his com-

   munity and through the church that he and his family attend. When he learned

   of this volunteer opportunity, he felt a strong desire to assist and committed him-

   self to attending.

3. Although the event is held from April 9 to April 16, due to Mr. Grider’s work

   schedule, he will only be able to attend April 10 to April 15, 2022. This will honor

   the three-day commitment that organizers are requesting of their volunteers.

4. Further information can be provided, if necessary.

      WHEREFORE, PREMISES CONSIDERED, Mr. Grider respectfully requests

this Honorable Court permit him to travel as set out in his motion.

Date: March 30, 2022                   Respectfully Submitted,

                                       MAYR LAW, P.C.

                                       by: /s/ T. Brent Mayr
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                                       CHRISTOPHER RAY GRIDER




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                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Candice Wong and Cindy Cho, on April 8, 2022, via CM/ECF and email.

                                       /s/ T. Brent Mayr
                                       T. BRENT MAYR




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